Case 3:18-cv-02293-GC-RLS Document 86-1 Filed 07/22/19 Page 1 of 3 PageID: 2587




                                  UNITED STATES DISTRICT
                               COURT DISTRICT OF NEW JERSEY

   CREIGHTON TAKATA, individually and on )
   behalf of all others similarly situated, ) Civil Action No.: 18-2293 (FLW)(TJB)
                                                          )
                         Plaintiff,                       )
                                                          )
                          V.                                  CERTIFICATION OF ALEX SPIRO
                                                          )
                                                          )
   RIOT BLOCKCHAIN, INC. F/K/A, BIOPTIX,)
   INC, JOHN O’ROURKE, JEFFREY          )
                                        )
   McGONEGAL, BARRY HONIG,
                                        )
   CATHERINE DEFRANCESCO, MICHAEL )
   BEEGHLEY, JOHN STETSON, MARK         )
   GROUSSMAN, ANDREW KAPLAN, MIKE )
                                        )
   DAI, JASON EES and ERIC SO,
                                                          )
                          Defendants.                     )


         I, Alex Spiro, hereby declare and certify:

         1.      I am an attorney and partner with the firm of Quinn Emanuel Urquhart &
                 I


  Sullivan, LLP, 51 Madison Avenue, 22nd Floor, New York New York 10010. I am a member of

  good standing of the New York Bar, and have been since my admission in 2008. I make this

  certification in support of the issuance of an Order admitting me pro hac vice in the above-

  captioned matter on behalf of Defendant Catherine DeFranceseo.

         2.      With respect to the above-captioned matter, I am associated with Jaclyn

  Palmerson at Quinn Emanuel Urquhart & Sullivan, LLP, who is counsel of record and qualified

  to practice in this court pursuant to New Jersey Court Rule 1:21-1. Because Ms. Palmerson does

  not maintain a fixed physical location for the practice of law in New Jersey, the Clerk of the

  Supreme Court is designated as an agent upon whom service may be made in the event service

  cannot otherwise be effectuated pursuant to the appropriate Rules of Court.



                                                      1
Case 3:18-cv-02293-GC-RLS Document 86-1 Filed 07/22/19 Page 2 of 3 PageID: 2588




         3.      I agree that I will make the required payment to the New Jersey Lawyers’ Fund

  for Client Protection as provided by New Jersey Court Rule l:28-2(a) and Local Civil Rule

  101.1(c)(2) for any year that 1 represent a client in a matter pending before this Court.

         4.      All pleadings, briefs, and other papers filed with the Court shall be signed by

  Jaclyn Palmerson, or an attorney admitted to the Bar of the State of New Jersey and this Court,

  and shall be held responsible for them and my conduct in this matter.

         5.      Pursuant to Local Civil Rule 101.1(c)(1), I declare that I was admitted to practice

  law and am a member in good standing in the following bars:

           JURISDICTION                 Name and Address or Office of Official            Year of
                                       Maintaining the Roll of Members of the Bar        Admission
                                                                                              2008
                                      Attorney Records Clerk
                                      Appellate Division, First Judicial Department
   New York State Bar
                                      41 Madison Avenue, 26'’’ Floor
                                      New York, New York 10010

                                                                                              2013
                                      Clerk’s Office
   U.S. District Court for the        Eastern District of New York
   Eastern District of New York       225 Cadman Plaza East
                                      New York, NY 11201
                                                                                              2013
                                      United States District Court, Southern District
   U.S. District Court for the        of New York
                                      500 Pearl Street,
   Southern District of New York
                                      New York, NY 10007
                                      Attn: Attorney Services

                                                                                              2019
                                      U.S. Court of Appeals for the Second Circuit
   U.S. Court of Appeals for the
                                      40 Foley Square
   Second Circuit                     New York, NY 10007

                                       Clerk, Supreme Court of the U. S.                      2019
   Supreme Court of the United         Attn: Admissions Office
   States                              One First Street, NE
                                       Washington, DC 20543




                                                   2
Case 3:18-cv-02293-GC-RLS Document 86-1 Filed 07/22/19 Page 3 of 3 PageID: 2589




         6.      Presently, there are no disciplinary proceedings pending against me in any

 jurisdiction and no discipline has previously been imposed upon me in any jurisdiction.

         7.      I am familiar with the Local Rules of this Court, and if admitted pro hac vice.

  submit myself to its disciplinary authority as provided by Local Civil Rule 101.1.

          8.     If admitted pro hac vice, I will abide by the requirements of Local Civil Rule

  101.1(c).

         9.      Pursuant to 28 U.S.C. § 1746,1 declare under penalty o lerjury that the foregoing

  is true and accurate.

         DATED: July 22, 2019

                                               By:

                                                       Alex Spiro




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